              Case 2:12-cv-01282-JLR Document 708 Filed 04/29/22 Page 1 of 2




 1                                                          THE HONORABLE JAMES L. ROBART

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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8
      UNITED STATES OF AMERICA,
 9                                                      CASE NO. 2:12-cv-01282-JLR
                              Plaintiff,
10                                                      [PROPOSED]
                     v.
11                                                      ORDER GRANTING CITY OF SEATTLE’S
      CITY OF SEATTLE,                                  STIPULATED MOTION TO EXTEND
12                                                      DEADLINE FOR MONITOR’S
                             Defendant.                 COMPLIANCE STATUS UPDATE
13

14
            HAVING reviewed the stipulated motion (Dkt. # 707), the Court grants the motion and orders
15
     that the deadline for filing the Monitor’s Compliance Status Update be extended from April 28, 2022 to
16
     May 13, 2022.
17
            The deadline set forth for the Compliance Status Update is HEREBY modified.
18
            DATED this 29th day of April, 2022.
19

20

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22
                                                          A
                                                          HON. JAMES L. ROBART
                                                          United States District Judge
23

      [PROPOSED] ORDER GRANTING CITY OF SEATTLE’S STIPULATED                             Ann Davison
      MOTION TO EXTEND MONITOR’S COMPLIANCE STATUS                                       Seattle City Attorney
                                                                                         701 Fifth Avenue, Suite 2050
      UPDATE DEADLINE                                                                    Seattle, WA 98104
      (2:12-cv-01282-JLR) - 1                                                            (206) 684-8200
              Case 2:12-cv-01282-JLR Document 708 Filed 04/29/22 Page 2 of 2




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 3   Presented by:

 4   ANN DAVISON
     Seattle City Attorney
 5

 6   /s Erica R. Franklin
     Erica R. Franklin, WSBA #43477
 7   Assistant City Attorney
     Seattle City Attorney’s Office
 8   701 Fifth Avenue, Suite 2050
     Seattle, WA 98104
 9   Phone: (206) 684-8200
     Email: Erica.franklin@seattle.gov
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      [PROPOSED] ORDER GRANTING CITY OF SEATTLE’S STIPULATED          Ann Davison
      MOTION TO EXTEND MONITOR’S COMPLIANCE STATUS                    Seattle City Attorney
                                                                      701 Fifth Avenue, Suite 2050
      UPDATE DEADLINE                                                 Seattle, WA 98104
      (2:12-cv-01282-JLR) - 2                                         (206) 684-8200
